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     THIS OMNIBUS OBJECTION SEEKS TO RECLASSIFY CERTAIN FILED PROOFS OF
      CLAIM. CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE THEIR
       NAMES AND CLAIMS ON EXHIBIT 1 ATTACHED TO THE PROPOSED ORDER.


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

 Robert J. Feinstein, Esq. (admitted pro hac vice)
 Bradford J. Sandler, Esq.
 Paul J. Labov, Esq.
 Colin R. Robinson, Esq.
 PACHULSKI STANG ZIEHL & JONES LLP
 780 Third Avenue, 34th Floor
 New York, NY 10017
 Telephone: (212) 561-7700
 Facsimile: (212) 561-7777
 Email: rfeinstein@pszjlaw.com
          bsandler@pszjlaw.com
          plabov@pszjlaw.com
          crobinson@pszjlaw.com

 Counsel to the Plan Administrator


 In re:                                                     Chapter 11

 BED BATH & BEYOND INC., et al.,1                           Case No. 23-13359 (VFP)

                                  Debtors.                  (Jointly Administered)

                                                            Hearing Date:      November 13, 2024
                                                            Hearing Time:      10:00 a.m. (ET)
                                                            Response Deadline: November 6, 2024

                                                            ORAL ARGUMENT WAIVED UNLESS
                                                            RESPONSES ARE TIMELY FILED

                            NOTICE OF OBJECTION TO YOUR CLAIM

 TO:      EACH CLAIMANT LISTED ON EXHIBIT A TO THE OBJECTION2


 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby.
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          Michael Goldberg, solely in his capacity as the Plan Administrator (the “Plan

 Administrator”) to 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond Inc.)3 and

 affiliated debtors (the “Debtors”) has filed the enclosed Plan Administrator’s Fourth Omnibus

 Objection (Substantive) to Claims (Reclassified Gift Card/Merchandise Credit Claims No. 2)

 (the “Objection”) which seeks to alter your rights by reclassifying your claim as a general

 unsecured claim. At this time, the Plan Administrator merely seeks to reclassify your claim as a

 general unsecured claim and does not seek to disallow or reduce the amount of your claim. He

 reserves the right to do so, however, pursuant to future objection. You should look for your name

 on Exhibit 1 attached to the Proposed Order (Exhibit A to the Objection) enclosed herewith and

 review the Objection carefully.

          If you disagree with the Objection, you must file a response to the Objection with the

 Clerk of the Bankruptcy Court at the address below on or before November 6, 2024.

          Clerk of Court
          United States Bankruptcy Court
           for the District of New Jersey
          Martin Luther King, Jr. Federal Building
          50 Walnut Street
          Newark, NJ 07102

          At the same time, you must also serve a copy of the response upon the Plan

 Administrator’s attorneys:




 2 In accordance with Local Bankruptcy Rule 3007-2, the Claims Agent served a separate copy of this Notice that
 was specifically tailored to each individual identified on Exhibit A to the Objection.
 3 Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which
 was filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly
 known as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833
 DOS ID 315602].
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        PACHULSKI STANG ZIEHL & JONES LLP
        780 Third Avenue, 34th Floor
        New York, NY 10017

        If you file a response, you or your attorney must appear at a hearing on the Objection that

 will be held before the Honorable Vincent F. Papalia on November 13, 2024, at 10:00 a.m. at

 the United States Bankruptcy Court, Courtroom No. 3B, Martin Luther King, Jr. Federal

 Building, 50 Walnut Street Newark, New Jersey 07102.

        PLEASE TAKE NOTICE that parties may make arrangements to appear telephonically

 by CourtSolutions at http://www.court-solutions.com, no later than 3:00 p.m. the court day prior

 to the hearing.

        IF YOU DO NOT RESPOND TO THE OBJECTION, THE COURT MAY GRANT

 THE RELIEF DEMANDED BY THE OBJECTION WITHOUT FURTHER NOTICE OR

 HEARING.

 Dated: October 8, 2024                      /s/ Bradford J. Sandler
                                             Robert J. Feinstein, Esq. (admitted pro hac vice)
                                             Bradford J. Sandler, Esq.
                                             Paul J. Labov, Esq.
                                             Colin R. Robinson, Esq.
                                             PACHULSKI STANG ZIEHL & JONES LLP
                                             780 Third Avenue, 34th Floor
                                             New York, NY 10017
                                             Telephone: (212) 561-7700
                                             Facsimile: (212) 561-7777
                                             Email:          rfeinstein@pszjlaw.com
                                                             bsandler@pszjlaw.com
                                                             plabov@pszjlaw.com
                                                             crobinson@pszjlaw.com

                                             Counsel to the Plan Administrator
